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 5
 6
 7             IN THE UNITED STATES DISTRICT COURT FOR THE
 8                     EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       )       Case No. 2:09-cr-0125 FCD
                                     )
11             Plaintiff,            )            STIPULATION AND PROTECTIVE
                                     )       ORDER REGULATING DISCOVERY AS TO
12   v.                              )             DEFENDANT SARTAJ CHAHAL
                                     )
13   SARTAJ CHAHAL, et al.,          )           FED. R. CRIM. P. 16(d)(1)
                                     )
14             Defendants.           )
                                     )
15                                   )
                                     )
16
17
18        Pursuant to Fed. R. Crim. P. 16(d), the undersigned parties
19   in United States v. Chahal, et. al., stipulate and agree, and
20   respectfully request that the Court order that:
21        1.   The United States shall turn over additional discovery
22             in this case to defendant Sartaj CHAHAL (“CHAHAL”),
23             beginning with Bates Stamp B0050 (“The Protected
24             Material”). While not every defendant in this case may
25             be entitled to each page of this discovery, disclosure
26             of The Protected Materials to CHAHAL may be required
27             pursuant to the government’s discovery obligations and,
28             even if not required, will facilitate CHAHAL’s

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 1        preparation for trial and/or decision to resolve his
 2        case.
 3   2.   The Protected Material is now and will forever remain
 4        the property of the United States. The Protected
 5        Material is entrusted to counsel for CHAHAL only for
 6        purposes of representation of his client in this case.
 7   3.   The purpose of this Order is to establish the
 8        procedures that must be followed by defense counsel of
 9        record, his designated employees, all other counsel
10        assisting him in this case, translators for the
11        defense, any Court personnel, and all other individuals
12        who receive access to this information or these
13        documents in connection with this case.
14   4.   Counsel for CHAHAL shall not give the Protected
15        Material to any person other than counsel’s staff,
16        proposed expert(s), if any, investigator(s), or any
17        person hired by defense counsel deemed necessary to
18        assist in the defense of this case.        The terms “staff,”
19        “expert(s),” “any person hired by defense counsel to
20        assist in the defense of this case” and “investigator”
21        shall explicitly exclude any other defendant in this
22        multi-defendant case, or any other person other than
23        those specifically described in this paragraph.
24   5.   Any person receiving a copy of the Protected Material
25        from counsel for CHAHAL shall be bound by the same
26        obligations as defense counsel and, further, may not
27        give the Protected Material to anyone (except that the
28        Protected Material shall be returned to counsel, see,

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 1        infra).
 2   6.   Counsel for CHAHAL shall maintain a list of persons to
 3        whom any portions or copies of the Protected Material
 4        has (or have) been given. Such persons shall be
 5        provided with a copy of this Stipulation and Order and
 6        shall sign a copy of the Stipulation and agree to be
 7        bound by the Order and note that they understand its
 8        terms and agree to them by signing.
 9   7.   Counsel for CHAHAL may use any and all of the Protected
10        Materials in the vigorous defense of his client in the
11        instant case in any manner he deems essential to
12        adequately represent his client (i.e., in motions that
13        are filed under seal, if necessary, in ex-parte
14        applications as may be needed, and as evidence, as may
15        be needed), consistent with the Protective Order as it
16        shall be originally prepared and signed. In the event
17        defense counsel needs to use the Protected Materials in
18        a manner not authorized under the present Proposed
19        Protective Order, he shall be entitled to seek to have
20        the order amended in order to meet his obligations
21        under the Sixth Amendment to the United States
22        Constitution.
23   8.   Within twenty days of the finality of the instant case,
24        as determined under the Federal Rules of Criminal
25        Procedure and case law from the United States Court of
26        Appeals for the Ninth Circuit and the United States
27        Supreme Court, counsel for CHAHAL shall return any and
28        all copies of the Protected Material and so certify to

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 1             the attorney for the government.
 2        9.   Any and all copies of the Protected Materials that may
 3             have been made by defense counsel, his staff, any
 4             proposed expert(s), if any, investigator, or any person
 5             hired by defense counsel to assist in the defense of
 6             this case shall remain in the possession of the person
 7             defense counsel entrusted to them until the case
 8             terminates at the District Court level. Thereafter,
 9             within 20 days of either sentencing more some other
10             order terminating the jurisdiction of the District
11             Court, each person to whom defense counsel entrusted a
12             copy of any of the Protected Materials must return them
13             to defense counsel and he, in turn, shall return them
14             to the government within 30 days of the case becoming
15             final in the District Court. Defense counsel shall
16             return the materials in accordance with paragraph 7,
17             above.
18
19                                           Respectfully Submitted,
20   DATE: July 8, 2009                      LAWRENCE G. BROWN
                                             Acting United States Attorney
21
                                             /s/ Jason Hitt
22                                           JASON HITT
                                             Assistant U.S. Attorney
23
24   DATE: July 8, 2009                      /s/ Joseph Shemaria
                                             JOSEPH SHEMARIA, Esq.
25                                           Counsel for Sartaj CHAHAL
                                             Electronically authorized to
26                                           sign for Mr. Shemeria on
                                             July 7, 2009.
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 1                                  O R D E R
 2        Based upon the agreement of the parties and good cause
 3   appearing therefore, the Court adopts the proposed stipulation
 4   regulating certain discovery as to defendant Sartaj CHAHAL.
 5        IT IS SO ORDERED.
 6   DATED: July 8, 2009.
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